
647 So.2d 1108 (1994)
Tanya Brunet BILLIOT, Individually and as Administratrix on Behalf of the Estate of Paul Warren Billiot, Sr. and on Behalf of Her Minor Children Spencer Billiot, Scotty Billiot and Chastity Billiot and Rita Parfait, Tutrix, on Behalf of Her Minor Children Bambi Cherise Billiot and Paul Warren Billiot, Jr.
v.
LEBEOUF BROTHERS TOWING COMPANY and Bourg Day Dock and Service Company, Inc.
No. 94-C-2367.
Supreme Court of Louisiana.
December 9, 1994.
Denied.
MARCUS, DENNIS and KIMBALL, JJ., would grant the writ.
WATSON, J., not on panel.
